The following order has been entered on the motion filed on the 27th of August 2018 by North Carolina Professors of Constitutional Law Enrique Armijo, Joseph Blocher, John Charles Boger, Guy-Uriel Charles, Michael Kent Curtis, April G. Dawson, Steve Friedland, Michal J. Gerhardt, Sarah Ludington, William P. Marshall, Gene R. Nichol, Wilson Parker, Jedediah Purdy &amp; Theordore M. Shaw for leave to file Amicus Curiae Brief:"Motion Allowed by order of the Court in conference, this the 29th of August 2018."Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i).